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Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 4 of 288. PageID #: 395805
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 5 of 288. PageID #: 395806
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 6 of 288. PageID #: 395807
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 7 of 288. PageID #: 395808
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 8 of 288. PageID #: 395809
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 9 of 288. PageID #: 395810
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 10 of 288. PageID #: 395811
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 11 of 288. PageID #: 395812
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 12 of 288. PageID #: 395813
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 13 of 288. PageID #: 395814
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 14 of 288. PageID #: 395815
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 15 of 288. PageID #: 395816
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 16 of 288. PageID #: 395817
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 17 of 288. PageID #: 395818
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 18 of 288. PageID #: 395819
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 19 of 288. PageID #: 395820
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 20 of 288. PageID #: 395821
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 21 of 288. PageID #: 395822
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 22 of 288. PageID #: 395823
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 23 of 288. PageID #: 395824
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 24 of 288. PageID #: 395825
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 25 of 288. PageID #: 395826
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 26 of 288. PageID #: 395827
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 27 of 288. PageID #: 395828
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 28 of 288. PageID #: 395829
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 29 of 288. PageID #: 395830
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 30 of 288. PageID #: 395831
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 31 of 288. PageID #: 395832
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 32 of 288. PageID #: 395833
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 33 of 288. PageID #: 395834
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 34 of 288. PageID #: 395835
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 35 of 288. PageID #: 395836
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 36 of 288. PageID #: 395837
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 37 of 288. PageID #: 395838
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 38 of 288. PageID #: 395839
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 39 of 288. PageID #: 395840
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 40 of 288. PageID #: 395841
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 41 of 288. PageID #: 395842
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 42 of 288. PageID #: 395843
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 43 of 288. PageID #: 395844
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 44 of 288. PageID #: 395845
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 45 of 288. PageID #: 395846
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 46 of 288. PageID #: 395847
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 47 of 288. PageID #: 395848
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 48 of 288. PageID #: 395849
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 49 of 288. PageID #: 395850
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 50 of 288. PageID #: 395851
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 51 of 288. PageID #: 395852
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 52 of 288. PageID #: 395853
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 53 of 288. PageID #: 395854
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 54 of 288. PageID #: 395855
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 55 of 288. PageID #: 395856
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 56 of 288. PageID #: 395857
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 57 of 288. PageID #: 395858
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 58 of 288. PageID #: 395859
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 59 of 288. PageID #: 395860
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 60 of 288. PageID #: 395861
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 61 of 288. PageID #: 395862
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 62 of 288. PageID #: 395863
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 63 of 288. PageID #: 395864
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 64 of 288. PageID #: 395865
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 65 of 288. PageID #: 395866
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 66 of 288. PageID #: 395867
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 67 of 288. PageID #: 395868
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 68 of 288. PageID #: 395869
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 69 of 288. PageID #: 395870
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 70 of 288. PageID #: 395871
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 71 of 288. PageID #: 395872
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 72 of 288. PageID #: 395873
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 73 of 288. PageID #: 395874
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 74 of 288. PageID #: 395875
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 75 of 288. PageID #: 395876
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 76 of 288. PageID #: 395877
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 77 of 288. PageID #: 395878
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 78 of 288. PageID #: 395879
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 79 of 288. PageID #: 395880
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 80 of 288. PageID #: 395881
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 81 of 288. PageID #: 395882
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 82 of 288. PageID #: 395883
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 83 of 288. PageID #: 395884
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 84 of 288. PageID #: 395885
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 85 of 288. PageID #: 395886
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 86 of 288. PageID #: 395887
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 87 of 288. PageID #: 395888
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 88 of 288. PageID #: 395889
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 89 of 288. PageID #: 395890
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 90 of 288. PageID #: 395891
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 91 of 288. PageID #: 395892
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 92 of 288. PageID #: 395893
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 93 of 288. PageID #: 395894
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 94 of 288. PageID #: 395895
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 95 of 288. PageID #: 395896
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 96 of 288. PageID #: 395897
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 97 of 288. PageID #: 395898
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 98 of 288. PageID #: 395899
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 99 of 288. PageID #: 395900
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 100 of 288. PageID #: 395901
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 101 of 288. PageID #: 395902
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 102 of 288. PageID #: 395903
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 103 of 288. PageID #: 395904
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 104 of 288. PageID #: 395905
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 105 of 288. PageID #: 395906
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 106 of 288. PageID #: 395907
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 107 of 288. PageID #: 395908
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 108 of 288. PageID #: 395909
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 109 of 288. PageID #: 395910
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 110 of 288. PageID #: 395911
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 111 of 288. PageID #: 395912
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 112 of 288. PageID #: 395913
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 113 of 288. PageID #: 395914
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 114 of 288. PageID #: 395915
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 115 of 288. PageID #: 395916
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 116 of 288. PageID #: 395917
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 117 of 288. PageID #: 395918
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 118 of 288. PageID #: 395919
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 119 of 288. PageID #: 395920
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 120 of 288. PageID #: 395921
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 121 of 288. PageID #: 395922
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 122 of 288. PageID #: 395923
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 123 of 288. PageID #: 395924
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 124 of 288. PageID #: 395925
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 125 of 288. PageID #: 395926
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 126 of 288. PageID #: 395927
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 127 of 288. PageID #: 395928
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 128 of 288. PageID #: 395929
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 129 of 288. PageID #: 395930
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 130 of 288. PageID #: 395931
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 131 of 288. PageID #: 395932
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 132 of 288. PageID #: 395933
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 133 of 288. PageID #: 395934
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 134 of 288. PageID #: 395935
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 135 of 288. PageID #: 395936
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 136 of 288. PageID #: 395937
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 137 of 288. PageID #: 395938
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 138 of 288. PageID #: 395939
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 139 of 288. PageID #: 395940
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 140 of 288. PageID #: 395941
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 141 of 288. PageID #: 395942
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 142 of 288. PageID #: 395943
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 143 of 288. PageID #: 395944
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 144 of 288. PageID #: 395945
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 145 of 288. PageID #: 395946
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 146 of 288. PageID #: 395947
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 147 of 288. PageID #: 395948
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 148 of 288. PageID #: 395949
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 149 of 288. PageID #: 395950
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 150 of 288. PageID #: 395951
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 151 of 288. PageID #: 395952
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 152 of 288. PageID #: 395953
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 153 of 288. PageID #: 395954
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 154 of 288. PageID #: 395955
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 155 of 288. PageID #: 395956
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 156 of 288. PageID #: 395957
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 157 of 288. PageID #: 395958
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 158 of 288. PageID #: 395959
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 159 of 288. PageID #: 395960
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 160 of 288. PageID #: 395961
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 161 of 288. PageID #: 395962
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 162 of 288. PageID #: 395963
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 163 of 288. PageID #: 395964
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 164 of 288. PageID #: 395965
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 165 of 288. PageID #: 395966
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 166 of 288. PageID #: 395967
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 167 of 288. PageID #: 395968
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 168 of 288. PageID #: 395969
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 169 of 288. PageID #: 395970
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 170 of 288. PageID #: 395971
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 171 of 288. PageID #: 395972
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 172 of 288. PageID #: 395973
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 173 of 288. PageID #: 395974
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 174 of 288. PageID #: 395975
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 175 of 288. PageID #: 395976
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 176 of 288. PageID #: 395977
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 177 of 288. PageID #: 395978
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 178 of 288. PageID #: 395979
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 179 of 288. PageID #: 395980
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 180 of 288. PageID #: 395981
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 181 of 288. PageID #: 395982
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 182 of 288. PageID #: 395983
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 183 of 288. PageID #: 395984
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 184 of 288. PageID #: 395985
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 185 of 288. PageID #: 395986
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 186 of 288. PageID #: 395987
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 187 of 288. PageID #: 395988
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 188 of 288. PageID #: 395989
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 189 of 288. PageID #: 395990
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 190 of 288. PageID #: 395991
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 191 of 288. PageID #: 395992
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 192 of 288. PageID #: 395993
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 193 of 288. PageID #: 395994
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 194 of 288. PageID #: 395995
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 195 of 288. PageID #: 395996
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 196 of 288. PageID #: 395997
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 197 of 288. PageID #: 395998
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 198 of 288. PageID #: 395999
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 199 of 288. PageID #: 396000
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 200 of 288. PageID #: 396001
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 201 of 288. PageID #: 396002
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 202 of 288. PageID #: 396003
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 203 of 288. PageID #: 396004
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 204 of 288. PageID #: 396005
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 205 of 288. PageID #: 396006
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 206 of 288. PageID #: 396007
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 207 of 288. PageID #: 396008
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 208 of 288. PageID #: 396009
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 209 of 288. PageID #: 396010
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 210 of 288. PageID #: 396011
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 211 of 288. PageID #: 396012
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 212 of 288. PageID #: 396013
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 213 of 288. PageID #: 396014
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 214 of 288. PageID #: 396015
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 215 of 288. PageID #: 396016
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 216 of 288. PageID #: 396017
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 217 of 288. PageID #: 396018
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 218 of 288. PageID #: 396019
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 219 of 288. PageID #: 396020
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 220 of 288. PageID #: 396021
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 221 of 288. PageID #: 396022
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 222 of 288. PageID #: 396023
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 223 of 288. PageID #: 396024
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 224 of 288. PageID #: 396025
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 225 of 288. PageID #: 396026
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 226 of 288. PageID #: 396027
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 227 of 288. PageID #: 396028
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 228 of 288. PageID #: 396029
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 229 of 288. PageID #: 396030
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 230 of 288. PageID #: 396031
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 231 of 288. PageID #: 396032
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 232 of 288. PageID #: 396033
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 233 of 288. PageID #: 396034
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 234 of 288. PageID #: 396035
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 235 of 288. PageID #: 396036
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 236 of 288. PageID #: 396037
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 237 of 288. PageID #: 396038
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 238 of 288. PageID #: 396039
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 239 of 288. PageID #: 396040
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 240 of 288. PageID #: 396041
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 241 of 288. PageID #: 396042
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 242 of 288. PageID #: 396043
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 243 of 288. PageID #: 396044
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 244 of 288. PageID #: 396045
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 245 of 288. PageID #: 396046
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Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 247 of 288. PageID #: 396048
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 248 of 288. PageID #: 396049
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 249 of 288. PageID #: 396050
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 250 of 288. PageID #: 396051
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Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 253 of 288. PageID #: 396054
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 254 of 288. PageID #: 396055
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 255 of 288. PageID #: 396056
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 256 of 288. PageID #: 396057
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 257 of 288. PageID #: 396058
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 258 of 288. PageID #: 396059
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 259 of 288. PageID #: 396060
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 260 of 288. PageID #: 396061
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Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 262 of 288. PageID #: 396063
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 263 of 288. PageID #: 396064
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 264 of 288. PageID #: 396065
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 265 of 288. PageID #: 396066
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 266 of 288. PageID #: 396067
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 267 of 288. PageID #: 396068
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 268 of 288. PageID #: 396069
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 269 of 288. PageID #: 396070
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 270 of 288. PageID #: 396071
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 271 of 288. PageID #: 396072
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 272 of 288. PageID #: 396073
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 273 of 288. PageID #: 396074
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 274 of 288. PageID #: 396075
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 275 of 288. PageID #: 396076
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 276 of 288. PageID #: 396077
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 277 of 288. PageID #: 396078
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 278 of 288. PageID #: 396079
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 279 of 288. PageID #: 396080
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 280 of 288. PageID #: 396081
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 281 of 288. PageID #: 396082
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 282 of 288. PageID #: 396083
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 283 of 288. PageID #: 396084
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 284 of 288. PageID #: 396085
Case: 1:17-md-02804-DAP Doc #: 2391-10 Filed: 08/15/19 285 of 288. PageID #: 396086
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